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                                    UNITED STATES DISTRICT COURT
                                    WESTERN DISTRICT OF MICHIGAN
                                         SOUTHERN DIVISION

DEBORAH K. MURPHY-DAVIDSON,
an individual,

                            Plaintiff,

                                                                    Case    No.: l4-cv-00779

KENNETH J. STOLL,                                                   Hon. Ray Kent
an individual, and                                                  Magistrate Judge
COMFORCARE SENIOR SERVICES -
MID MICHIGAN, a limited liability company,

                            Defendants.


 DEFENDANTS KENNETH J. STOLL AND COMFORCARE'S BRIEF IN SUPPORT OF
MOTION FOR NEW TRIAL OR REMITTITUR OR JUDGMENT AS A MATTER OF LAW

       A.   Summarv

            Judges   will go to great    lengths to avoid disturbing a   jury verdict. In such   cases, the Court
must find the verdict is against the great weight of the evidence, the amount awarded was excessive
or that no reasonable      juror could come to the conclusion reached. This is one such          case.

            In the interest of judicial economy, it makes sense to defer judgment in an "intentional
infliction of emotional distress" case until all the information is in. A jury nonsuit moots the question
and avoids needless appellate review.

            Ms. Davidson's claim of intentional infliction of emotional distress is                      inextricably
interwoven and predicated upon the assault and stalking counts, exclusively. To be sure, count                  III of
Ms. Davidson's complaint does not cite any additional facts beyond those cited in the assault and
stalking counts to support her claim of intentional infliction of emotional distress.
            In considering whether Ms. Davidson met the high standard of "extreme and outrageous"
conduct, the defendants' respectfully submit that the Court should also respect and give deference to
the   jury's conclusion that Mr. Stoll did not engage in any stalking behavior, and at best committed               a

technical assault that was not the proximate cause of Ms. Davidson's alleged injuries.r Under these

t
    Exhibit A.
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circumstances, a new trial or judgment as a matter of law is appropriate.

         The record is also devoid of any evidence that Mr. Stoll intended to inflict, or that Ms.
Davidson suffered, severe emotional distress as the result of Mr. Stoll's conduct. The jury likewise
concluded that Ms. Davidson did not suffer any economic damages as the result of the alleged
intentional infliction      of   emotional distress. Moreover, considering comparative verdicts for
compensatory and non-economic damages, the jury's verdict was clearly excessive.

    B.   Facts

        Plaintiff alleges that Mr. Stoll assaulted and battered her, stalked her and committed
intentional infliction of emotional distress. Following a six-day jury trial, the jurors ruled in favor of
defendants on the assault and stalking counts, while awarding $130,000 for the intentional                         infliction
of emotional distress.2 A corresponding judgment was entered on 2 May 2016.3
         During the trial, at the close of plaintiffs proofs, defense counsel moved for                      a   judgment in
favor of Mr. Stoll and Comforcare regarding the stalking and intentional infliction counts, for the
reasons stated on the record and         "for the reasons more fully set forlh in our trial brief."a Regarding
the intentional infliction count, the Court ruled that the plaintiff could submit alternative theories to
the jury, while not specifically addressing whether there was any evidence                              of   "extreme and


(1. Did Mr. Stoll assault and batter Ms. Davidson? Answer: YES.
(1.a. If yes, was the assault and battery the proximate cause of damages to Ms. Davidson? Answer: NO.
(4. If you find that Ms. Davidson suffered economic damages, what is the total amount of such damages
suffered to date? Answer: $ 0.00.

2
         EXHIBIT A
3
         EXHIBIT    B
4
          Defendant's Trial Brief, at page 10, reads in pertinent pafi as follows:
          "ln Count III of her complaint, Ms. Davidson alleges that Mr. Stoll's conduct in stalking her also constitutes an
intentional infliction of emotional distress.( See Complaint, fl'tT 38-4 l. It is unclear if she also claims that the alleged
battery also contributes to this finding.)
           Ms. Davidson asserts no facts beyond Mr. Stoll's alleged stalking or one instance of alleged battery to support
this allegation. In essence, it's a rnere restatement of plaintiff s civil stalking and assault complaint. This allegation will
also be subject to Mr. Stoll's summary judgrnent motion under Rule 50.
          To sustain a cause of action for intentional infliction of emotional distress, "fl]iability has been found only
where the conduct has been so outrageous in character, and so extreme in degree, as to go beyond all possible bounds of
decency, and to be regarded as atrocious, and utterly intolerable in a civilized community." (Sawabini v. Desenberg, 143
Mich App 373,383;372 NW2d 560 (1985). "lt is initially for the trialjudge to decide whether defendant's conduct
might reasonably be regarded as so extreme and outrageous to allow recovery for intentional infliction of emotional
distress." ( Id, at 383) At the conclusion of plaintiff s proofs, the Court will have little difficulty finding that Ms.
Davidson's has failed to meet her burden of proof regarding Mr. Stoll's alleged stalking. Since the intentional infliction
of emotional distress is premised upon a finding of stalking, ([t]here no authority to suggest that one alleged battery or
assault and battery may also constitute an intentional infliction of emotional distress) this count of plaintiffs complaint
must also fail."
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outrageous" conduct on the part of Mr. Stoll.'

         Defendants now move for a new trial or remittitur under F.R.Civ.P. 59 or judgment as a
matter of law in their favor under F. R. Civ. P. 506).

    C.   Standards for Granting Motions


         Under Rule 59(a)(1XA), after a jury trial a court may grant a new trial "for any reason for
which a new trial has heretofore been granted in an action at law in federal court." This has been
interpreted to require a new trial only when (1) the verdict is against the great weight of evidence;
(2) the damages being excessive, or (3) the trial being unfair to the moving party in some fashion,
e.g., the proceedings being influenced by sympathy, prejudice or bias.6

         Instead of granting a new trial, the Court may alternatively grant a remittitur of the amount                   of
damages awarded by the   jury. A court should grant such a motion only if "the award clearly exceeds
the amount    which, under the evidence in the case, was the maximum that a jury could reasonably
find to be compensatory for the plaintiffs loss."7 Other factors include: 1) whether the verdict
"shocks the judicial conscience"; 2) whether the verdict was the result of improper methods,
prejudice, passion, partiality, sympathy, corruption, or mistake of law or fact; 3) whether the verdict

was within the limits         of what reasonable minds would            deem    just compensation for the injury
sustained; 4) whether the amount actually awarded is comparable                  to awards in similar      cases   within
the slate and in other jurisdictions.8
         Under Rule 50, a court should render judgment as a matter of law when "a parly has been
fully heard on an issue and there is no legally sufficient evidentiary basis for a reasonable jury to
find for that party on that issue."e When a party challenges the sufficiency of the evidence in                          a

diversity case, the trial courls applies the forum state law standard. Under Michigan law, a motion
for a directed verdict    -   the same thing as under     a   judgment as a matter of law under rule 50 - should
be granted when the evidence, viewed in a light most favorable to the non-moving party, fails to
establish a claim as a matter of law.10 Judgment as a matter of law is appropriate when the evidence


s
  Counsel is relying on his memory and notes from trial. No transcript is available at the time of filing this motion.
u
  Holmes v. City of Massillon, TS F.3d 1041, 1045-46 (6thCir. 1996)
t
  Bickel v. Korean Air Lines Co, Ltd.,96 F3d l5 I , 1 56 (6tr' Cir. 1996).
" Muynrc v. Wal-Mart,77 F.Supp 2d 826 (E.D. Mich. 1999), citing Palenkas v. Beaumont Hosp. , 432 Mich 521, 443
N.W.2d 354 (1989) and22 Am. Jur.2d, Damages, $S 1021-1025, pp. 1067-1075.
" Fed, R, Civ. P, 50(a), Weisgramv. Marley Co.,528 U.S,440, 120 S Ct. 1011, 145 Led,2d 958 (2000).
'o Orzel v Scott Drug Co,449 Mich 550, 557 (1995); Shivers v. Schiege,285 Mich App 636, 639 (2000).
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shows "there is no genuine issue of material fact for the jury, and reasonable minds could come to

but one conclusion in favor of the moving party."ll


         D. No   reasonable   juror could find that Mr. Stoll's actions meet the standard of "extreme            and
             outrageous" conduct necessary to establish a claim for emotional distress          -   such a finding is
             against the great weight of evidence.

            The Michigan Supreme Courl has never formally recognized the tort of intentional infliction

of emotional distress ("IIED").12 Assuming that the cause is valid, recovering for the toft requires                 a

plaintiff to prove the following elements: "(1) 'extreme and outrageous' conduct, (2) intent or
recklessness, (3) causation, and (4) 'severe emotional distress."l3 Whether the offending conduct is

extreme and outrageous is initially a question of law for the courl.14
            The threshold for showing extreme and outrageous conduct is high. No cause of action will
necessarily lie even where a defendant acts with torlious or even criminal intent.ls Rather,              liability is
imposed only where "'the conduct has been so outrageous in character, and so extreme in degree, as
to go beyond all possible bounds of decency, and to be regarded as atrocious, and utterly intolerable
in a civilized community."'u
             In Roberts v Auto-Owners Insurance Co, without reaching the issue of whether recognizes
the tort of intentional infliction of emotional distress, the Courl cited the Restatement definition of
"extreme and outrageous," in pertinent part, as follows:
               "The cases thus far decided have found liability only where the defendant's conduct has
             been extreme and outrageous. It has not been enough that the defendant has acted with an
             intent which is tortious or even criminal, or that he has intended to inflict emotional distress,
             or even that this conduct has been characterrzed by 'malice' or a degree of aggravation which
             would entitle the plaintiff to punitive damages for another tort. Liability has been found only
             where the conduct has been so outrageous in character, and so extreme in degree, as to go



tt Noblev. Brinker Int'1, 1nc.,391 F.3d
                                        715,720 (6'r'Cir.2004).
12
    SeeSmith v Calvary Christian Church,662 Mich 679, 690;614 NW2d 590 (2000) (Weaver, J., concuning),
ciltngRoberts v Auto-Owners Ins Co,422 Mich 594;374 NW2d 905 (1985). Essentially, plaintiff is asking a federal
court to predicate an award of damages on a cause of action that has never been recognized by Michigan's highest court
-- and this cause ofaction has been asserted for the past halfcentury.
 13
       Roberts,supra at602, quoting Restatement Torts,2d, $ 46, p 71.
 'o    Sqwabini v Desenberg,143 Mich App 373, 383;372 NW2d 559 (1985), citing Roberts.
 \"s
    Roberts, supra at 602, citing Restatement, pp 72-73.
 'o Roberts, supra at 503, quoting Restatement, pp 72-73.
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           beyond all possible bounds ofdecency, and to be regarded as atrocious, and utterly
           intolerable in a civilized community. Generally, the case is one in which the recitation of the
           facts to an average member of the community would arouse his resentment against the actor,
           and lead him to exclaim, 'Outrageous!"17

           In Roberts, Michigan's highest coufi also cited the following Restatement which "further
qualihes the conduct proscribed by this torl:


                   'The conduct, although it would otherwise be extreme and outrageous, may be
                   privileged under the circumstances. The actor is never liable, for example, where he
                   has done no more than to insist upon his legal rights in a permissible way, even
                   though he is aware that such insistence is certain to cause emotional distress."l8

           Finally, again citing the Restatement commentary, the Roberl's Court held that "[t]he rule
stated     in this Section applies only where the emotional distress has in fact resulted, and where it is
severe. . . . [t]he law intervenes only where the distress inflicted is so severe that no reasonable man

could be expected to endure it."le
           In the present case, the evidence adduced at trial indicates that Mr. Stoll's conduct               was
neither extreme nor outrageous. There is no evidence which show that, in approaching defendant in
the home of a client,      it   was Mr. Stoll's intent to cause plaintiff the "extreme emotional distress"
which the legal standard has in view. Instead, the uncontroverted evidence at trial was that he did
not expect to hnd her there. Upon her discovery in the home, Mr. Stoll was attempting to give Ms.
Davidson paperwork regarding her alleged breach of her employment contract. In fact, at one point
during Mr. Stoll's visit, he went back out to his car to retrieve a copy of the Client Services
Agreement20 and Employee Handbook Release Form2l containing the non-compete agreement that

Mr. Stoll had every reason to believe were valid.
           Here, the jury could have chosen to credit Ms. Davidson, who relates that Mr. Stoll banged
on the bedroom door; opened it with force, and that the parties engaged in a tussle over the box                of
medical gloves. Shortly after the incident, Ms. Davidson admitted that she told Trooper Umphrey
that they were "fighting over the box of gloves like little kids."22 A patty cake fight over medical

t7
     Id.
'" Id, 422 Mich at 608, Quoting Restatement of Torts, 2d, Sec. 46, comment C.p.76.
" Id, 422 Mich at 608, 609, quoting Restatement of Torts, 2d, Sec 46, comment j. p.   7'7 .
'o EXHIBIT c (TRIAL EXHtBtr J)
.,
  EXHIBIT D (TRIAL EXHIBIT B)
"Ms. Davidson admitted at trial that she knocked the box of gloves from Mr. Stoll's hands and ripped the 8/5
Comforcare Weekly Flow Sheet; Defendant's Trial Exhibit F.
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gloves which results in no injury is the kind of "tdviality" Dean Prosser has in mind when he writes

that "[l]iability for intentional infliction of emotional distress "does not extend to mere insults,
indignities, threats, annoyances, petty oppressions, or other trivialities."23 This is simply not the
"outrageous" or 'oextreme" conduct the law has in view.2a Therefore Davidson's testimony has no
tendency to suppon a verdict of IIED.2s

         What else on this record might be considered in support to the verdict? The jury could have
found that Ms. Davidson furlher suffered the contemporaneous indignity of Mr. Stoll yelling at her
in vulgar language while intoxicated; but people use vulgar language towards each other, every day.
This testimony describes an incident of deplorable manners, but falls far short of conduct so
"outrageous in character, so extreme in degree, as to go beyond all possible bounds of decency, and

to be regarded as atrocious, and utterly intolerable in a civilized community."'u
         If Ms. Davidson's version of this event constitutes an intentional infliction of emotional
distress,   it would invite an avalanche of cases. Every other family                 disturbance call, for example,
numbering in the tens of thousands; every incident of drunken rudeness at the Calder Plaza festival
beer tent by a visitor from South Bend would create a cause of action for federal court.

         Mr. Stoll's confrontation with then 88-year-old Mr. Kring, while ill-advised, also does not
rise to the level of intentional infliction of emotional distress. Ms. Davidson claims she was privy to
this conversation while hiding from Mr. Stoll in the rear bedroom. This evidence, along                       with Mr.
Stoll's decision to subsequently charge Mr. Kring's credit card $5,000, was elicited by plaintiff
solely to inflame the passions of the jury. Counsel's animated sermon to the jury notwithstanding,



'" Roberts, supra, 422 Mich at 603.
'o The United States Sixth Circuit has affirmed the dismissal of IIED claims in cases presenting allegations that are much
more severe than Ms. Davidson presented at trial. In Snyder v. Kohls Dept Store (EXHIBIT F), for example, plaintiff was
falsely accused of shoplifting, was detained for thirty or forty minutes and was subjected to a strip s"u."h in front of u
police officer' The Court held that "snyder's embarrassment and discomfort do not rise to the level of severe emotional
distress required to submit her claim to the iury." (Citations omitted)                                               ln
Polkv. Yellow Frieight,80l F.2d 190 (1986) a Sixth Circuit panel found that plainriff s allegations that a male
supervisor "subjected the female staffto unwanted touching, sexual suggestions and homosexual advances, thus creating
an intimidating and hostile work environment" was not a viable cause of action where plaintiff failed to demonstrate thal
she suffered "actual emotional distress of a significant magnitude." g0 I F2d 190, 196.
-- A viable
         example of conduct which is sufficiently outrageous to be actionable under the Restatement, see pratt v-
Brown Machine Co.,855 F.2d 1225, 1238-42 (6th Cir. 1988) (llED under Michigan adoption of the Restatement for
employer to coerce enrployee into silence in the face of 18 months of harassing phone calls, some threatening rape, put to
the employee's wife by an upper level manager of the employer).



  JawQbtnt. sunra.
Case 1:14-cv-00779-PJG ECF No. 95-1 filed 05/12/16 PageID.1504 Page 7 of 10



Ms. Davidson cannot predicate a claim of intentional infliction of emotional distress on Mr. Stoll's
offensive interaction with a non-family member. The law simply will not support it and the incident
therefore has no bearing on the analysis whether this trial record supports a verdict of intentional
infliction of emotional distress.
           According to her own testimony, Plaintiff Davidson believed Mr. Stoll's motivation for
"stalking" her (a characterrzation          I put in quotation    marks because we now know in light of the
jury's verdict, was not "stalking" at all) before the August 5 incident was that                   she was a valuable
employee and because he wanted her to accept further assignments. Any emotional distress plaintiff
may have felt was the product of her attempting to conceal that she was working for the Krings in
violation of her non-compete agreement.2T In any event, this testimony supports a finding of
annoyance, but not of the kind of emotional distress a woman might feel in a stalking situation where

her personal safety is put at risk.

           Neither does Mr. Stoll's l0 June 2013 visit to Ms. Davidson's residence, 25 days before the                   5

August incident, constitute 'oextreme" or "outrageous" conduct. The record supports a finding and a
belief on plaintiff s part that Mr. Stoll came to her residence because she had not returned his text
messages; that she was not present, but learned            of Mr. Stoll's visit from her then boyfriend.2s Did
Mr. Stoll leave a dead cat on her doorstep? No. Mr. Stoll left a business card with a note on the
back that said: "Call me." This conduct was neither outrageous, nor extreme, nor did it precipitate
distress. Even        if the Court   were to treat this unwanted visit as a trespass, this would do nothing to
                                                                            2e
advance a claim of intentional          infliction of emotional distress.
           Accepting Ms. Davidson's version of the events leaves no room to dispute the fact that Mr.
Stoll's conduct was motivated by a desire to apprise the parties of the non-compete agreements in
the context of an employer-employee relationship. This was a lawful motivation, and it follows that
no reasonable juror could find Mr. Stoll's actions were intended to cause Ms. Davidson                             severe

emotional distress for its own sake. Mr. Stoll's ill-mannered conduct in the prosecution of that
lawful motivation, which was not inherently so atrocious or extreme as to exceed the bounds of




''Plaintiff cannot claim emotional distress that is largely "self-inflicted." Polkv. Yellow Frieght Systems,80 l F.2d 190,
196-197 (1986).
" EXHTBIT E. (Trial Exhibit L) "thle came to rny house because I never returned his calls or text." Ms. Davidson's
Petition for a PPO, dated -08-07-13.
29^,
     KODerB. SuDra.
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decency, is not actionable as intentional infliction of emotional distress.
                                                                                            30 Therefore, the verdict

should be vacated for lack of evidentiary supporl in the trial record.

     E. Viewing the evidence in a light most favorable   to Ms. Davidson. she has failed to prove. or
         even alleged. that Mr. Stoll's conduct caused her extreme emotional distress.

         In an intentional infliction case, "[t]he law intervenes only where the distress inflicted is                  so

severe than no reasonable man could be expected                    to endure it." The intensity and duration of the
duress are factors to be considered in determining its severity."3l Therefore, even                 if the court were to
find Mr. Stoll's conduct "outrageous", notwithstanding the foregoing considerations, it would still be
hard pressed to leave the verdict undisturbed here, where plaintiff Davidson failed to prove or even
allege that she suffered extreme emotional distress, another element                        of the tort of    intentional
infl iction of emotional distress.32

         Aside from the onset of physical and corresponding psychological challenges plaintiff
experienced after she moved               to Florida, the record is devoid of any evidence that she                sought

psychological counseling or otherwise suffered any extreme emotional distress from her short tenure
of employment a year before. While                 she testified that    Mr. Stoll's "stalking" behavior was one of
many reasons she left Michigan, we know, from the jury's nonsuit verdict on the stalking claim, that
whatever defendant did, his conduct did not involve a                 "willful course of conduct involving       repeated

or continuing harassment of another individual that would cause a reasonable person to                                 feel

terrorized, frightened, intimidated, threatened, harassed, or molested and that actually causes the
victim to feel terrorized, frightened, intimidated, threatened, harassed, or molested," because that is
the definition of "stalking" as to which this jury exonerated the defendants.33 Therefore, even
viewing this testimony of "stalking" in a light favorable to plaintiff,                 it is hard to see how   whatever

'o Id, 422 Mich at 608, Quoting Restatement of Tofts, 2d, Sec. 46, comment g.p.76.
3t
  Haverbushv. Powelson,2lT Mich App228,551 NW2d 207 (1996). (Concludingthere was a question of fact
concerning defendant's actions, which included a two-year period of intense stalking, repeatedly threatening the plaintiff
and his fiancd with violence, leaving lingerie, an ax and hatchet on the finance and plaintiff s car, accusing him of being
a philanderer in a letter to his parents and threatening to defame plaintiff with his physician colleagues.)

32                "Count   lll -   Intentional Infliction of Emotional Distress
          38.      Paragraphs      I through 37 are hereby incorporated by reference.
          39.     Defendant Stoll's conduct as described above was extreme and outrageous, utterly beyond all possible
          bounds ofdecency, and intolerable in a civilized society.
          40. Defendant Stoll's conduct was intentional and reckless.
          41 .    As a direct and proximate result of Mr. Stoll's conduct, Plaintiff has suffered mental anguish, physical
          and emotional distress, humiliation, embarrassment, and physical injury."

  See   MCL 750.411h(1Xd)
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 she experienced shoft        of actual "stalking" as defined by law could have precipitated               .,extreme

emotional distress" where the law rules out any feeling                    of "terror, fright, intimidation,   threat,
harassment, or molestation"          et aI.34 Where there was no "stalking" on this record, whence the
finding of emotional distress?
           While Ms. Davidson testified to the onset of many challenges to daily living after her l5 May
2015 surgery, again, the jury concluded that Mr. Stoll's actions were not the proximate cause of Ms.

Davidson's physical injuries.ls Viewing the evidence in a light most favorable to Ms. Davidson,
there was scant evidence adduced at trial to supporl a finding that she experienced any emotional
distress because of Mr. Stoll's alleged conduct, leave alone severe emotional distress. The short
duration of any alleged emotional upset suffered by plaintiff is a factor that militates against a
finding of severe emotional distress.36
           Given insufficient evidence to support the verdict in favor of Ms. Davidson for Mr. Stoll's
intentional infliction of emotional distress, the Court should be left to conclude that the verdict was
influenced by passion or sympathy for Ms. Davidson or to punish Mr. Stoll in his dealings with the
Krings.


             emittitur
           The   jury awarded plaintiff the sum of $130,000 for non-economic              damages   for the alleged
intentional infliction of emotional distress. The Court should find that this sum is beyond the amount
a   jury could reasonably find to be compensatory for the plaintiff           s loss and beyond the   limits of what
reasonable minds would deem just compensation for the injury sustained."37 The Court may also
find that the amount awarded was based upon sympathy and is not comparable to awards in similar
cases    within the state and in other jurisdictions.3s
       Ms. Davidson claims no economic damages, medical bills or wage loss for her alleged
emotional distress. Any claimed economic damages were the claimed result of the physical assault.
Again, the jury specifically found that the defendants were not responsible for any economic
damages from the alleged assault.


    KODerts. suDra.
"  Jury verdict form, EXHIB|T A.
'o Haverbush, supra.,217 Mich App at235.
'' Bickel v. Korean Air Lines Co, Ltd.,96 F3d 151 , 156 (6th Cir. 1996).
tu
  Meyersv. Wal-Mart,77 F,Supp 2d826 (E.D. Mich. t999;, citing Palenkasv. Beaumont Hosp.,432Mich52l,443
N.W.2d 354 (1989) and22 Am. Jur. 2d, Damages, $$ l02l-1025, pp. 1067-1075.
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        Determining whether $130,000 is reasonable compared to similar awards for intentional
infliction of emotional distress is difficult. The undersigned found few, if any, reported decisions for
an award of intentional infliction of emotional distress that was not combined with breach of
contract, stalking, assault, defamation, or another intentional tort.3e
     All of the reported   cases involved clear incidents of extreme misconduct which far exceeded

anything on this record, and verdicts that spoke for themselves in justification of the respective
verdicts.

    WHERFORE, defendants move the Court to enter judgment in their favor on the intentional
infliction of emotional distress claim, for lack of record support; or in the alternative, to remit the
award of S130.000.




                                                     Respectfully submitted,


                                                     /s/ Thomas A. Ginster

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3slnHaverbush,supra,thetrial
                                courtwithoutajuryawardedplaintiffinjunctivereliefand$ll,6l5inattorneyfees.ro [n
Lebetter v. Brown City Savings Bank,se the Michigan Court of Appeals sustained a jury verdict for $50,000 on an
intentional infliction count.3e In Persell v lhertz3e, a jury awarded the plaintiff $15,000. ln Jacobsonv Parda Federal
Credit Union, a jury awarded plaintiff $100,000 in noneconomic damages for intentional infliction of emotional distress.
Footnote 3,457 Mich 318,577 NW2d 881 (1998). (The trial courr vacated the verdicr and the court of appeals affirmed.)

In Polkv. Yellow Frieght, supra,801F.2d 190, 193 (1986), a jury from the Eastern District of Michigan awarded the
plaintiff $75,000 for an allegedly racial charged hostile work environment, coupled with "unwanted touching, sexual
suggestions and homosexual advances" an award the 6tl'Circuit later vacated.




                                                          10
